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SUITE_ 250 n 940 MONROL NW

 

January 23, 2004

Via Facsimile

James S. Brady, Esq.

Miller, Johnson. Snell & Cummiskey, PLC
Calder Plaza Building

250 Monroe Avenue, NW. Suitc 800
Grand Rapids, Ml 49501-0308

Re: Ryan v McGinn-Loomis, et a|.
Ee No. 1:03-cv-439

Dear .lim;

l am writing in response to the subpoena to the Hon. Patrick Hillary issued by
your firm in the referenced mattcr. Prior to issuing the subpoena you telephoned me and
infomied me that the subject of inquiry would be limited to a telephone conversation (or
conversations) which Judge Hillary may have had with one or both of the defendants in
the referenced case (Ms. Adele McGinn?Loomis and attorney Mary Benedict) on the
evening ofSeptember 19, 2001.

As we have discussed in proceeding with this matter_ our goal is an approach
which (l) would allow us to satisfy the requirements of Fed. R. Civ. P. 26(b)(5), (2)
would not unduly inconvenience counsel or the potential deponents, and (3) would allow
for the potential deponents effectively to assert their judicial privilege

We believe the common law ofjudicial privilege applies regarding the instant
deposition. For cxamplc, in Reyc'mfi 1»'. McDonu/tl, l‘)4 Mich. 50(), 503; 160 N.W. 836
(1916), the Michigan Supreme Court stated the judicial privilege in broad terms ("‘Wc
are not disposed to narrow or abridge the right of a citizen to make even an oral
complaint before a magistrate charged with the duty of investigating the matters
complained ot`....Such communications are as sacred in the eyes of the law as the
communications between client and lawyer, or patient and physician.’ We think
defendant’s [e.r parte] communication to the probate judge in this case was equally a
matter of absolute privilege.”). Additionally, we believe that Canon 3A(6) of Michigan’s

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Code ot Judicial Conduct precludes ludge Hillary t"rorn testifying regarding the topic
which you seek to explore with him.

After consulting with his Presiding ludge and with his counsel. ludge Hillary has
determined that Canon 3A(6) of Michigan’s Code oi`ludicial Conduct and the common
law ofjudicial privilege generally would compel hint to assert his judicial privilege in
response to questions regarding the proposed subject of your examination As we did
with the subpoena previously issued to Kent County Circuit Court judge Patricia
Gardner, we are responding to you promptly to allow you to proceed as you choose.

Judge Hillary has scheduled Circuit Court matters on his docket for 2:00 p.m. on
Tuesday, .lanuary 27. However, should you want to go forward with his deposition and
have him assert the privilege in response to your proposed questions, please call me and
we will make every effort to find a time late in the afternoon or early in the evening on
Januat'y 27 when Judge Hillary would be available lf` such a deposition is initiated,
Judge Hi|lary may prefer to have it taken in one of the conference rooms on the judicial
corridor on the 9" floor of the Hall of .lustice. A reissued deposition notice or subpoena
will not be necessary All that would be necessary is an agreement between counsel as to
the time and location.

Very truly you rs.
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Thomas F. Koemkc

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